Case 1:18-cr-00389-RBJ Document 1-3 Filed 08/21/18 USDC Colorado Page 1 of 1




 DEFENDANT:            Jeramyah Gonzalez a/k/a Joseph Peña a/k/a Joseph Sanchez

 YOB:                  1982

 COMPLAINT             ______ Yes      __X____ No
 FILED?
                       If Yes, MAGISTRATE CASE NUMBER_____________

 HAS DEFENDANT BEEN ARRESTED ON COMPLAINT?                        ________ Yes    _______ No
  If No, a new warrant is required

 OFFENSES:             Counts 6: Mail Fraud, 18 U.S.C. § 1341
                       Count 7: Aggravated Identity Theft, 18 U.S.C. § 1028A(a)(1)


 LOCATION OF           Adams County, Colorado
 OFFENSE:

 PENALTY:              Mail Fraud (Count 6): NMT twenty years imprisonment and/or NMT
                       $250,000 fine; NMT three years supervised release; $100 special
                       assessment
                       Aggravated Identity Theft (Count 7): two years imprisonment consecutive
                       to any other prison sentence

 AGENT:                Dana McKay, Dep’t of Education OIG
                       Charlie Beans, U.S. Secret Service

 AUTHORIZED
 BY:                   Daniel E. Burrows, Special Assistant U.S. Attorney


ESTIMATED TIME OF TRIAL:

 X five days or less          ____ over five days           ____ other

THE GOVERNMENT

      will seek detention in this case based on 18 U.S.C. § 3142(f)([1 or 2])
____X__ will not seek detention

The statutory presumption of detention is not applicable to this defendant.

OCDETF CASE:             Yes X No




                                                1
